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                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

 JONATHON HOWARD BECK,                    )
 # 12643-509,                             )
                                          )
       Petitioner,                        )
                                          )    CRIMINAL NO. 20-00137-CG-B
 vs.                                      )    CIVIL ACTION 24-00016-CG-B
                                          )
 UNITED STATES OF AMERICA,                )
                                          )
       Respondent.                        )

                                       ORDER

       After due and proper consideration of all portions of this file deemed relevant

to the issues raised, and a de novo determination of those portions of the

Recommendation to which objection is made, the Report and Recommendation of

the Magistrate Judge made under 28 U.S.C. § 636(b)(1)(B) and dated May 6, 2024

(Doc. 100) is ADOPTED as the opinion of this Court. It is ORDERED that

Petitioner Jonathon Howard Beck’s Motion to Vacate, Set Aside, or Correct

Sentence under 28 U.S.C. § 2255 (Doc. 93) is DENIED, that this action is

DISMISSED with prejudice, and that Petitioner Beck is not entitled to the

issuance of a certificate of appealability or to proceed in forma pauperis on appeal.

       DONE and ORDERED this 20th day of June, 2024.

                                 /s/ Callie V. S. Granade
                                 SENIOR UNITED STATES DISTRICT JUDGE
